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 2
 3                                UNITED STATES DISTRICT COURT
 4                                        DISTRICT OF NEVADA
 5
 6   UNITED STATES OF AMERICA,                 )
                                               )
 7                     Plaintiff,              )                  Case No. 12-cr-00083-APG-GWF
                                               )
 8   vs.                                       )                  ORDER
                                               )
 9   BILLY STEFFEY,                            )
                                               )
10                     Defendant.              )
     __________________________________________)
11
12          This matter is before the Court on Defendant’s Motion for Court to Serve Documents by US
13   Mail (ECF No. 444), Motion for Extension of Time (ECF No. 445), and Motion to Update Docket
14   Sheet (ECF No. 446), filed on June 27, 2016.
15          Defendant represents that he has not received documents filed with or by the Court,
16   including the Court’s Minute Order (ECF No. 429) that instructed Defendant to file a reply to his
17   Motion to Vacate (ECF No. 421) within 30 days after the Government filed its response. Defendant
18   now requests an extension of that deadline. Defendant also represents that an extension is
19   warranted due to the fact that the Government’s Motion to Dismiss (ECF No. 434) was not filed in
20   Defendant’s related Civil Case (2:16-cv-00864-APG). In addition, Defendant requests that he be
21   served all future documents by US mail and that the docket sheet in Defendant’s Civil Case be
22   updated to include all entries associated with his Motion to Vacate.
23          Defendant is advised that his Civil Case was opened for statistical purposes only, and
24   therefore, any documents related to his Motion to Vacate have been and will continue to be
25   docketed in Defendant’s Criminal Case (2:12-cr-00083-APG-GWF). Thus, Defendant is instructed
26   to refer to his Criminal Case for all information relating to his Motion to Vacate. The Court will,
27   however, allow Defendant additional time to file a reply to his Motion to Vacate based on his
28   representation that he has not received any Court filings. Accordingly,
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 1            IT IS HEREBY ORDERED that Defendant’s Motion for Court to Serve Documents by US
 2   Mail (ECF No. 444) is granted. All documents issued by the Court will be served upon Defendant
 3   via US mail. In addition, the Government—to the extent it is not already doing so—shall mail
 4   Defendant any documents it files at his listed address: FCI Williamsburg, P.O. Box 340, Salters, SC
 5   29590.
 6            IT IS FURTHER ORDERED that Defendant’s Motion for Extension of Time (ECF No.
 7   445) is granted. Defendant shall file a reply to his Motion to Vacate no later than July 29, 2016.
 8            IT IS FURTHER ORDERED that Motion to Update Docket Sheet (ECF No. 446) is
 9   denied.
10            DATED this 29th day of June, 2016.
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12                                                 ______________________________________
                                                   GEORGE FOLEY, JR.
13                                                 United States Magistrate Judge
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